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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                   :
CHRISTIAN FENICO, et al.                           :
                                                   :
                        Plaintiffs,                :
                                                   :     CIVIL ACTION
                v.                                 :
                                                   :     NO. 2:20-cv-03336-GEKP
CITY OF PHILADELPHIA,                              :
                                                   :
                        Defendant.                 :
                                                   :




   DEFENDANT CITY OF PHILADELPHIA’S OBJECTIONS AND RESPONSES TO
           PLAINTIFF THOMAS YOUNG’S INTERROGATORIES



         Defendant City of Philadelphia (the “City”) objects and responds to Plaintiff Thomas

Young’s Interrogatories as follows:

                                  PRELIMINARY STATEMENT

         The City has not yet completed its investigation of the facts relating to this action and has

not yet completed its preparation for trial. The City reserves its right to supplement these responses

pursuant to the applicable Federal Rules of Civil Procedure and Local Rules of Court.

         The City objects to Plaintiffs’ definitions and instructions to the extent that they seek to

impose requirements exceeding those in the applicable Federal Rules of Civil Procedure and Local

Rules.

         Plaintiffs have served twelve (12) sets of interrogatories, each comprised of twenty (20)

separate questions, for a total of 240 interrogatories. Rule 33 of the Federal Rules of Civil

Procedure provides that “a party may serve on any other party no more than 25 written

                                                  1
#124298360v1



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        ANSWER: Subject to the foregoing objections, see the July 2014 Disciplinary Code,

which is part of the collective bargaining agreement between the City of Philadelphia and Fraternal

Order of Police Lodge No. 5, in effect between July 1, 2019 through June 30, 2020. See

PHL_00009823-00010012.



        7.      Please identify the individual who made the final decision with regard to the
disciplinary action taken against the Plaintiff Young in this case.

        OBJECTIONS: The City understands this interrogatory to be seeking information related

to the 2019 Disciplinary Action. The City objects to this interrogatory as vague, confusing,

ambiguous, over broad, and unduly burdensome if and to the extent it calls for information relating

to any other disciplinary action.

        ANSWER: Subject to the foregoing objections, Commissioner Richard Ross made the

final decision regarding discipline.



        8.    Please describe any prior written notice of possible violation of any Department
social media policy that was provided to Plaintiff Young before imposing disciplinary action.

        OBJECTIONS: The City objects to this interrogatory because the undefined term “prior

written notice” is vague, confusing and ambiguous. The City further objects to this interrogatory

as over broad, unduly burdensome, and oppressive to the extent it seeks information relating to

notice in connection with possible violations other than those at issue in the 2019 Disciplinary

Action. The City further objects to this interrogatory as over broad, unduly burdensome and

oppressive because it is unlimited as to time.

        ANSWER: Subject to the foregoing objections:

        1. Plaintiff Young was given notice and training on the PPD social media policy in 2011,

               when it was first issued.

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        2. Plaintiff Young was given notice and training on the PPD social media policy in 2012,

               when it was updated.

        3. Plaintiff Young was given notice and training on the PPD social media policy in 2014.

        4. Plaintiff Young was given notice and training in June/July 2019 on professionalism

               and social media.

        5. Plaintiff Young was given notice and disciplined in 2019 for violations of the PPD

               social media policy.



      9.      Please identify each individual within PPD who communicated with First Deputy
Commissioner Myron Patterson, Sergeant Joann Garvey, Captain John Przepiorka or any other
Commanding Officer or employees regarding the allegations that led ultimately to the Plaintiff
Young’s discipline.

        OBJECTIONS: The City understands this interrogatory to be seeking information related

to the 2019 Disciplinary Action. The City objects to this interrogatory as vague, confusing,

ambiguous, over broad, and unduly burdensome if and to the extent it calls for information relating

to any other disciplinary action. The City also objects to this interrogatory as over broad, unduly

burdensome and oppressive to the extent that it seeks to require the City to identify all persons in

the Philadelphia Police Department who communicated anyone else in the Philadelphia Police

regarding the allegations that resulted in Plaintiff Amato’s discipline. The City further objects to

this interrogatory as over broad, unduly burdensome and oppressive because it is unlimited as to

time.

        ANSWER: Subject to the foregoing objections, see the individuals identified in response

to Interrogatory No. 1.




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        ANSWER: Subject to the foregoing objections, the following social media posts violated

the social media policy and interfered with policing:

        1. July 30, 2017. PHL_00004889. Religious Bias.

        2. June 14, 2016. PHL_00004887. Religious Bias.

        3. June 18, 2013. PHL_00004892. Religious Bias.

        4. May 10, 2014. PHL_00004884. Religious Bias.

        5. February 8, 2014. PHL_00004888. Religious Bias.

        6. December 2, 2015. PHL_00004879. Religious Bias.

        7. February 24, 2019. PHL_00004897. Promotes Violence. Misuse of Power.

        8. July 9, 2012. PHL_00004899. Racial/Ethnic Bias. Promotes Violence.

        9. December 20, 2017. PHL_00004895. Promotes Violence. Misuse of Power.

        10. July 12, 2015. PHL_00004881. Homophobic/Anti-LGBTQ.

        11. June 19, 2016. PHL_00004883. Homophobic/Anti-LGBTQ. Religious Bias.

        12. November 13, 2015. PHL_00004886. Religious Bias.

        13. January 23, 2016. PHL_00004893. Racial/Ethnic Bias.

                                                        Respectfully submitted,

                                                        /s/ David Smith
                                                        David Smith (Attorney I.D. 21480)
                                                        DILWORTH PAXSON LLP
                                                        1500 Market Street, Suite 3500E
                                                        Philadelphia, Pennsylvania 19102-2101
                                                        (215) 575-7062

                                                        Attorney for Defendant,
                                                         City of Philadelphia




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                                CERTIFICATE OF SERVICE
        I, David Smith, hereby certify that a true and correct copy of Defendant City of

Philadelphia’s Objections and Responses to Plaintiff Thomas Young’s Interrogatories has been

electronically transmitted on June 28, 2024, to the following:

                              Larry L. Crain, Esq.
                              Crain Law Group
                              5214 Maryland Way, Suite 402
                              Brentwood, TN 37027
                              Phone: (615) 376-2600
                              larry@crainlaw.legal

                              Emily Castro, Esq.
                              Crain Law Group
                              5214 Maryland Way, Suite 402
                              Brentwood, TN 37027
                              Phone: (615) 376-2600
                              emily@crainlaw.legal

                              Jonathan J. Sobel, Esq.
                              1500 Walnut Street
                              Suite 2000
                              Philadelphia, PA 19102
                              Phone: (215) 735-7535
                              Mate89@aol.com

                                                            /s/ David Smith
                                                            David Smith




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                                                                                                                             Page: 1




                                                                           Concise    Officer History


                                                                    Corp    Thomas    Young    [8087i


Payroll    Number:                  Hire   date:      Nov    20,   1989     Current    assignment       since:   Feb   09,    2015
Current    assignment(s):
          Bureau:    Communications           Bureau
          Division:    SUPPORT       SERVICES
          District    Unit:    4927      PCIC



Involved     Officer:         Internal           Investigations                        IA     No:    93-1023
Received:      Feb    22,     1993


    Incident       disposition/finding:            Exonerated
Classification:       Custody       Injury               Disposition:        Exonerated             Assigned:    Anthony
Morinelli


          CUSTODY     INJURY-SUDDEN           DEATH



    Complainant:            Reggie         Stevenson



    Allegations:


           Custody    Injury    -




Involved     Officer:         Complaint           Against          Police              IA     No:    94-0334
Received:      Oct    12,     1994
                                                                                       DC     no:            94-06-062416


    Incident       disposition/finding:            Not      Sustained
Classification:       Other    Misconduct                    Disposition:      Not    Sustained            Assigned:     Lieutenant
Edward Nolan


           IMPROPER    PROCEDURES        VA     LACK/SERVICE



    Complainant:            Boulkassoum           Torre



    Allegations:


           Other Misconduct          -




Involved     Officer:         Complaint           Against          Police              IA     No:    95-0304
Received:      Aug    22,     1995
                                                                                       DC     no:            95-06-053005


    Incident       disposition/finding:            Not      Sustained
Classification:       Physical      Abuse                Disposition:        Not   Sustained            Assigned:      Lieutenant
Francis    Nolan


           PA-GRABBED/PUSHED VA



    Complainant:            Byron        Ruff



    Allegations:


           Physical    Abuse    -




Involved     Officer:         Complaint           Against          Police              IA     No:    95-0392
Received:      Oct    06,     1995

                                                                                                                               EXHIBIT

                                                                                                                                Young-1




                                                                                                                                PHL 00004904


                                                              JA-2767
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                                                                                                             DC no:                95-26-063446

    Incident           disposition/finding:                    Unfounded
Classification:           Physical                Abuse                   Disposition:             Unfounded              Assigned:    Lieutentant
Frank Mondrosch


           PA-PUSHED/PULLED VA



    Complainant:                 Eric              Lowe



    Allegations:


           Physical           Abuse       -




Involved Officer:                        Complaint Against                           Police                   IA No:        95-0519
Received:         Dec     15,            1995
                                                                                                             DC no:                95-06-077375

    Incident           disposition/finding:                    Several               Findings
Classification:           Other          Misconduct                            Disposition:             Several    Findings           Assigned:   Mikal
Abdullah


          ALLEGATION            OF       FALSE      ARREST        =       EXONERATED            / VERBAL ABUSE        =   UNFOUNDED



    Complainant:                 David              Kline



    Allegations:


           Verbal        Abuse       -        -    Unfounded          -       Jun    23,    2003
           False        Arrest       -        -    Exonerated             -    Jun    23,       2003


Involved Officer:                    Drug           test                                                      IA No:        1131
Received:         Mar     03,            1996
                                                                                                             DC     no:            1131

    Incident           disposition/finding:                    Negative
Classification:           Drug       test                    Disposition:                  Negative               Assigned:   Un-assigned


           Invest:       No




    Test    date:        03/03/1996                 Reason     test           was     requested:          Random
    Drug    test        disposition:                Negative
    The    officer/member                 tested positive                      for    drugs:       Negative
    Urine        test    was    conducted:                Negative              Type       of    drug    found:
    Hair    test        was    conducted:                  Type       of       drug    found:


Involved Officer:                    Use          of   force                                                  IA No:        U96-0061
Received:         May     26,            1996

    Incident           disposition/finding:                    Closed Without                     Findings
Classification:                           Disposition:                Closed Without                   Findings           Assigned:    C/O


             -    Closed        on       conversion           6/12/2002



    Involved           Citizen                Joseph         Adams



    Use(s)        of    force                          Effective/Not                  Effective
    OC                                                 NOT    effective




                                                                                                                                                   PHL 00004905


                                                                                JA-2768
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    Service        being    conducted:


Involved          Officer:           Use    of    force                                IA   No:     U97-0198
Received:          Nov    17,        1997


    Incident           disposition/finding:              Closed Without    Findings
Classification:                           Disposition:      Closed Without      Findings          Assigned:   C/O


              -    Closed       on   conversion         6/12/2002



    Involved           Citizen             Sean    Clark



    Use(s)        of    force                     Effective/Not      Effective
    JACK                                          NOT   effective


    Service        being    conducted:


Involved          Officer:           Miscellaneous                                     IA   No:     97-2045
Received:          Nov    26,        1997


    Incident           disposition/finding:              Unfounded
Classification:           Miscellaneous            Investigation               Disposition:   Unfounded             Assigned:
Sergt   Maria      Cianfrani


         VA       FALSE   ARREST          THREATS



    Complainant:                 Benjamin          Emengo



    Allegations:


           Miscellaneous              Investigation         -




Involved          Officer:           Use    of    force                                IA   No:     U98-0063
Received:          Mar    11,        1998
                                                                                      DC    no:           98-06-014981


    Incident           disposition/finding:              Closed Without    Findings
Classification:                           Disposition:      Closed Without      Findings          Assigned:   C/O


              -    Closed       on   conversion         6/12/2002



    Involved           Citizen             Charles      Marshall



    Use(s)        of    force                     Effective/Not      Effective
    JACK                                          NOT   effective


    Service        being    conducted:


Involved          Officer:           Complaint          Against     Police             IA   No:     98-0139
Received:          Apr    14,        1998
                                                                                      DC    no:           98-06-021301


    Incident           disposition/finding:              Exonerated
Classification:           Lack       Of    Service              Disposition:   Exonerated           Assigned:   C/o


         LACK/SERVICE-AUTO ACCIDENT



    Complainant:                 Vanessa          Poitier




                                                                                                                           PHL 00004906


                                                                  JA-2769
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    Allegations:


           Lack    of    Service       -




Involved Officer:                Drug      test                                         IA No:      11270
Received:        Nov     02,     1999
                                                                                       DC     no:              11270

    Incident       disposition/finding:              Negative
Classification:          Drug    test             Disposition:        Negative              Assigned:    Un-assigned


           Invest:      No




    Test    date:       11/02/1999         Reason    test    was    requested:     Random
    Drug    test       disposition:        Negative
    The officer/member tested positive                        for drugs: Negative
    Urine test was conducted: Negative                         Type of drug found:
    Hair    test       was    conducted:         Type   of   drug     found:


Involved Officer:                Drug      test                                         IA No:      36572
Received:        Apr     26,     2001
                                                                                       DC no:                  36572

    Incident       disposition/finding:              Negative
Classification:          Drug    test             Disposition:        Negative              Assigned:    Un-assigned


           Invest:      NA




    Test    date:       04/26/2001         Reason    test    was    requested:      Promotion
    Drug    test       disposition:        Negative
    The    officer/member             tested positive         for   drugs:     Negative
    Urine       test    was    conducted:     Negative         Type    of   drug   found:
    Hair    test       was    conducted:         Type   of   drug     found:


Involved Officer:                Drug      test                                         IA No:      19329
Received:        Aug     06,     2002
                                                                                       DC no:                  19329

    Incident       disposition/finding:              Negative
Classification:          Drug    test             Disposition:        Negative              Assigned:    Un-assigned


           Invest:      NA




    Test    date: 08/06/2002               Reason test       was    requested:      Random
    Drug    test disposition:              Negative
    The    officer/member             tested positive         for   drugs:     Negative
    Urine       test    was    conducted:     Negative         Type    of   drug   found:
    Hair    test       was    conducted:         Type   of   drug     found:


Involved Officer:                Complaint Against                  Police              IA No:      04-0308
Received:        Jun     11,     2004
                                                                                       DC no:                  04-06-035428

    Incident       disposition/finding:              Exonerated
Classification:          Lack    Of    Service               Disposition:       Exonerated          Assigned:     C/O


           On   Thursday,        6-10-04,    at     11:25    am,    a Complaint     Against     Police   was   received   at
           Internal




                                                                                                                               PHL 00004907


                                                               JA-2770
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          Affairs by         Sgt.   Angelucci          #544    from the      Complainant.          I.A.D.     #04-308   was     issued.



          The complainant, David, Lynn, 37, V/N,                                                                          alleges
          that on Sunday, 5/31/04 around 1:00 pm, he was refused service                                      from Cpl. Young when
          he went to file a police report at the 6th District located at                                      11th & Winter
          Streets.




    Complainant:                 DAVID A LYNN



   Allegations:

          Lack    of   Service       -     -   Exonerated       -   Apr    01,   2005


Involved    Officer:              Complaint            Against      Police                 IA No:        04-0422
Received:       Jul        30,    2004
                                                                                          DC    no:             04-06-046846


    Incident disposition/finding:                      Exonerated
Classification: Other Misconduct                            Disposition:           Exonerated            Assigned:      Sergt    Chester
Oneill



                 ,
          The complainant, Aaron Cato, 39, E/M,
                alleges that while in custody inside the 6th District, he was threatened by
          Cpl. Young and Officer Auman.  Mr. Cato's paperwork was complete and Cpl. Young
          commented to Officer Auman, "this guy's been through the system, so take him out
          back and shoot him."  Although Mr. Cato does not specify what Officer Auman said,
          he alleges that the officer also threatened him.




    Complainant:                 AARON    T CATO



    Allegations:

          Threats      -     -    Exonerated       -    Sep   14,   2004


Involved    Officer:              Drug     test                                            IA No:        04-6624R
Received:       Aug        09,    2004


    Incident disposition/finding: Negative
Classification: Drug test       Disposition:                              Negative          Assigned:     Un-assigned



    Test date: 08/09/2004  Reason test was requested: Random
    Drug test disposition: Negative
    The officer/member tested positive for drugs: Negative
    Urine test was conducted: Negative  Type of drug found:
    Hair test was conducted:   Type of drug found:


Involved    Officer:              PHI                                                      IA No:
Received:       Aug        11,    2004


    Incident disposition/finding: Departmental Violations
Classification: Procedural       Disposition: Departmental Violations                                             Assigned:       Un-
assigned

          P/C's   along with Police supervisors                      and Police         Radio   failed   to   handle    a PDU    cell
          block   incident properly.

    PBI   Handling:         Yes          PBI   Processing Completed:             Yes




                                                                                                                                  PHL 00004908


                                                                JA-2771
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    PBI    Case      Information:
           PSI No: 2004-0415
           Job type: Formal Discipline                    Sworn
           Opened date: 08/11/2004
           Completed date: 01/26/2005
           Status:         Completed
           Source:         Commanders         Request



         Charges:

   Article      IV        Neglect      of    Duty    08/11/2004    ]Failure     to   Supervise]     -    Guilty-Reprimand      Jan   28,
2005



          Statute: 4.15



          Failure to Supervise                                                                                             0p1
failed    to supervise a situation                    5/16/04

    Related actions              taken:

                Jan       28,   2005    Reprimand


Involved      Officer:            Complaint           Against      Police               IA No:           05-0426
Received:       Aug        08,    2005
                                                                                        DC    no:              05-06-047802


    Incident disposition/finding:                       Withdrawn
Classification: Lack Of Service                             Disposition:        Withdrawn               Assigned:   0/0

          The     complainant,              Dwayne   Alston     41/0/M,
          -
          from Corporal             Young.
                                            -                                 states   that he     experienced lack       of   service



          According to the complainant on Sunday 7/10/05, at 2:42 AM, while at 920 Walnut
          Street, his car was stolen.  Mr. Alston states that when he called the Captain's
          office, he was told that the report that was taken was an error.  The complainant
          feels that Corporal Young is lying, because he supplied his driver's license
          number, registration, and insurance information, as well as receiving a DC number.




    Complainant:                 DWAYNE       J ALSTON



    Allegations:

           Lack      of    Service      -     -   Withdrawn       Sep   27,   2005


Involved      Officer:            Use        of   force                                 IA No:           U05-1346
Received:       Sep        18,    2005        03:49
                                                                                        DC    no:              05-06-058653


    Incident disposition/finding: Approved
Classification:        Disposition: Approved                                   Assigned:     0/0

          The defendant was observed on the highway at 600 SpringGarden street very
          intoxicated. The male was yelling at others as they passed by. The officers
          transported to Hahnemanri Hospital for an evaluation of his intoxication level. The
          male was so abusive towards the emergency room staff that he was refused treatment.
          The male was then taken to the 6th District for his safety. The ORS, (Cpl. Young),
          was conducting an evaluation of the prisoner, (who was screaming & yelling at
          police), when the defendant spit in the corporal's face. The corporal used his open




                                                                                                                                 PHL 00004909


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           left    palm          to    push    the    male's             face    away    from his          direction          so    that    he    would       not       be
           able       to    spit       at    him    again.          The    male    was    held       against       the    cellrom wall             while          he    was
           searched          & uncuffed.             He       was    then        placed       into    the    cell       with        & held       till    sober          &
           released with                a summary             citation.



    Involved          Citizen                John     Fallon



    Use(s)       of    force                         Effective/Not                Effective
    Control       Holds                              Effective


    Service       being          conducted:          Arrest


Involved Officer:                      Drug        test                                                      IA No:            06-5160D
Received:         Jan       20,        2006

    Incident          disposition/finding:                      Negative
Classification:             Drug       test                   Disposition:          Negative                     Assigned:          Un-assigned



    Test    date:          01/20/2006              Reason       test       was    requested:          Random
    Drug    test       disposition:                Negative
    The    officer/member                   tested positive                for    drugs:       Negative
    Urine       test       was    conducted:          Negative              Type    of    drug       found:
    Hair    test       was       conducted:               Type       of    drug    found:


Involved Officer:                      Off Duty Action                                                       IA No:            07-6029
Received:         Mar       24,        2007        02:09
                                                                                                            DC no:                         07-08-012340

    Incident          disposition/finding:                      Approved
Classification:             Off       Duty    Police          Action                Disposition:             Approved                     Assigned:          C/O


           DEF WAS         OBSERVED           DRIVING          THRU       K-MARTS       PARKING       LOT    AT    A HIGH          RATE    OF    SPEED,       NEARLY
           STRIKING          PEDESTRIANS.                 ARRESTING             OFFICER WAS          OFF    DUTY    WHEN       HE    HAD    TO    PICK       UP    A
           THREE       YEAR       OLD       GIRL    AND       RUN    OUT    OF    THE    PATH    OF    REF'S       VEHICLE.           OEF       CAME    TO A SUDDEN
           STOP       IN    FRONT       OF    PARKED          VAN    EXITED       HIS    VEHICLE       HOLDING AND             DRINKING          FROM AN          OPENED
           BOTTLE          OF MILLER          LITE.           DEE    WALKED       TOWARDS       THE    OFF       DUTY    SCREAMING          OBSCENITIES                AND
           GESTURING AND                POINTING          WITH       THE    BOTTLE       OF    BEER.        HE    STATED       "FUCK       YOU,    IN A COP,
           OPEN    YOUR MOUTH                AND    I'LL       LOCK       YOU    UP."     ( MALE HAS NOT A POLICE OFFICER)                                   AT    THAT
           POINT       THE       OFF    DUTY       IDENTIFIED             HIMSELF AS          A POLICE       SUPERVISOR             SHOWING       IDENTIFICATION
          AND ASKED              FOR    DEF    ID.        MALE       RAN    TO A TRASH          CAN AND          THREW    THE       BEER    INTO       THE    TRASH
          AND ATTEMPTED                 TO    GET    BACK       INTO       HIS    VEHICLE.           MALE    WAS    DETAINED          UNTIL       THE    ARRIVAL             OF
           ON    DUTY      OFFICERS.               MALE       WAS    THEN       PLACED    UNDER ARRESTED                FOR    OUT    AND       TRANSPORTED             TO
           PDU.



    Complainant:                      ROBERT        PAGE



    Allegations:


           Off    Duty       Police          Action       -     -    Approved       -    Mar    30,    2007


Involved Officer:                      Use     of     force                                                  IA No:            U07-0501
Received:         Apr       20,        2007        03:30
                                                                                                            DC no:                         07-06-022834

    Incident          disposition/finding:                      Approved
Classification:                             Disposition:             Approved                  Assigned:          C/O


           The    defendant             was    arrested             at    1300    Walnut       Street       for    Public          Urination       refer          to    DC#
           07-06-022825.                The    male       was       transported          to    the    6th    District          for    processing.             2/0
          Allen        #1445          was    assigned          as    the    cell    block       attendant          and    had       removed       the    cuffs          &




                                                                                                                                                                   PHL 00004910


                                                                            JA-2773
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         was      attempting                to    conduct             a search          prior       to    placing          him    into       the    cell       along       with
           the    arresting                officer,          9/0       Diaz       #9639       when       the    male       became       combative.             The    male       was
           refusing          to       comply       to       be    searched.             The       male    turned       & assaulted             9/0 Allen             and    a
         struggle began. The male                                 bit       0/0 Alien on the right forearm breaking the skin. 9/0
         Allen struck the male on                                 the       back of his head with his left forearm to free his
           right       forearm             from    the       male's          teeth.          The    officer          then    forced          the   male        to    the    ground
         with      the       assistance                of    9/0       Diaz       and       they    struggled          to    get       him    cuffed       again.          9/0
           Diaz    used her                radio       to    call          for    more       officers          to    assist       them.       At    that       point       several
           officers          from          the    operations                room       & others,          (see       list    of       officers) ,         who       happened          to
           in    the       district          went       to       their       assistance.                When    the    responding             operations             room
           officers          arrived             9/0    Allen          & Diaz          were       still       struggling with                the   male        on    the    floor
           of    the       cellroom          attempting                to    get       him    cuffed.          Together          the    officer         were        able    to
         bring         the       male       under       control,             force          his    hands       behind       his       back    & cuffed.             PlO    Allen
         was      taken          to    Hahnemann             Hospital             for       treatment          of    a human          bite    wound.       9/0       Diaz       was
           assaulted, (DC#                  07-06-022835) ,                  but       was    not       injured.       The       defendant          suffered          swelling
           to    his       face       & was       transported                to       St.    Joe's       Hospital          where       he    was    treated by             Dr.
           Pasquelone             and       released             to    police          for    transportation                to    CCTV       for   processing.



    Involved          Citizen                Ronnie          David Anderson



    Use(s)       of    force                            Effective/Not                   Effective
    Control       Holds                                 Effective


    Service       being          conducted:             Arrest


Involved        Officer:               Complaint                  Against              Police                         IA    No:         09-0157
Received:         Mar       30,        2009
                                                                                                                      DC    no:                     09-09-013761


    Incident          disposition/finding:                            Exonerated
Classification:             Physical             Abuse                      Disposition:                Exonerated                     Assigned:          Lieut       James
Clough


         According               to    the       complainant,                on       3-25-09       at    2:25       AM,    while       at    Transit          Night       Club
           located          at    600       Spring          Garden          St.,       she    was       assaulted by             an    unknown          female.           The
           complainant                states       that          she       was    kicked          out    of    the    club       by    the    bouncers.              The
           complainant                states       that          she       returned          so    that       she    could       get    her    shoes       and was          then
           slammed          onto       a van       by       an    officer.              At    that       time,       numerous          officers          arrived          and
         began         to    hit       the       complainant                and       slammed her             onto    the    ground,          where       she       hit    her
           face       on    the       concrete.              The       complainant                states       she    was    then       thrown          into    the       van    and
           transported                to    the    6th       District,                searched          and placed          in    a holding             cell.        The
           complainant                states       that          while       in       the    cell,       she    asked       Dpi.       Young       if    she    could make             a
         police            report          and    a phone             call,       but       was    denied.           The    complainant             states          that    Cpl.
         Young         said,          "No,       you    can't.              You're          locked       up    so    you    can't       make       a police          report.
           You    need       to       shut       the    hell          up    because          I don't          want    to    hear       your    mouth."




    Complainant:                      SHANIQUE              HAWKINS



    Allegations:


           Lack       of    Service          -     -    Exonerated                -    Nov    02,       2009


Involved        Officer:               Drug        test                                                               IA    No:         10-7138D
Received:         Nov       09,        2010


    Incident          disposition/finding:                            Negative
Classification:             Drug       test                      Disposition:                Negative                  Assigned:             Un-assigned



    Test    date:          11/09/2010              Reason             test       was    requested:             Random




                                                                                                                                                                            PHL 00004911


                                                                                  JA-2774
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    Drug    test    disposition:          Negative
    The    officer/member          tested positive                for    drugs:       Negative
    Urine    test    was    conducted:          Negative           Type       of    drug    found:
    Hair    test    was    conducted:          Negative           Type    of       drug    found:


Involved     Officer:         Integrity              test                                           IA   No:   11-1770
Received:     Aug     31,     2011


    Incident       disposition/finding:                Failed
Classification:                    Disposition:          Failed                    Assigned:        Lieut   Mark   Cacciatore


           RANDOM TEST      OF     06TH       DISTRICT       HQ




    Allegations:


           Procedural       Test    -     -    Failed    -    Aug       31,    2011


Involved     Officer:         Drug            test                                                  IA   No:   13-6155D
Received:      Jun    13,     2013


    Incident       disposition/finding:                Negative
Classification:       Drug    test                   Disposition:             Negative               Assigned:     Un-assigned



    Test    date:    06/13/2013           Reason       test       was    requested:          Random
    Drug    test    disposition:          Negative
    The    officer/member          tested positive                for    drugs:       Negative
    Urine    test    was    conducted:          Negative           Type       of    drug    found:
    Hair    test    was    conducted:            Type    of       drug    found:


Involved     Officer:         Drug        test                                                      IA   No:   13-7092D
Received:     Nov     13,     2013


    Incident       disposition/finding:                Negative
Classification:       Drug    test                   Disposition:             Negative               Assigned:     Un-assigned



    Test    date:    11/13/2013           Reason       test       was    requested:          Random
    Drug    test    disposition:          Negative
    The    officer/member          tested positive                for    drugs:       Negative
    Urine    test    was    conducted:          Negative           Type       of    drug    found:
    Hair    test    was    conducted:            Type    of       drug    found:


Involved     Officer:         Drug            test                                                  IA   No:   15-5514D
Received:     Mar     12,     2015


    Incident       disposition/finding:                Negative
Classification:       Drug    test                   Disposition:             Negative               Assigned:     Sergt   Emilia   Crespo



    Test    date:    03/12/2015           Reason       test       was    requested:          Random
    Drug    test    disposition:          Negative
    The    officer/member          tested positive                for    drugs:       Negative
    Urine    test    was    conducted:          Negative           Type       of    drug    found:
    Hair    test    was    conducted:            Type    of       drug    found:


Involved     Officer:         Drug        test                                                      IA   No:   15-6660D
Received:      Sep    02,     2015


    Incident       disposition/finding:                Negative
Classification:       Drug    test                   Disposition:             Negative               Assigned:     Sergt   Martin   Henry




                                                                                                                                       PHL 00004912


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    Test    date:      09/02/2015                Reason         test    was    requested:       Random
    Drug    test      disposition:               Negative
    The    officer/member              tested positive                  for    drugs:       Negative
    Urine      test    was    conducted:            Negative             Type    of    drug    found:
    Hair    test      was    conducted:                 Type      of    drug    found:


Involved Officer:                 Drug           test                                                 IA No:       19-5220D
Received:       Feb         01,   2019

    Incident         disposition/finding:                       Negative
Classification:            Drug   test                   Disposition:            Negative               Assigned:      Sergt    Mark Nagy



    Test    date:      02/01/2019                Reason         test    was    requested:       Random
    Drug    test      disposition:               Negative
    The    officer/member              tested positive                  for    drugs:       Negative
    Urine      test    was    conducted:            Negative             Type    of    drug    found:
    Hair    test      was    conducted:                 Type      of    drug    found:


Involved Officer:                     Internal          Investigations                                IA No:       19-1077.58
Received:       Jun         06,   2019

    Incident         disposition/finding:                       Sustained
Classification:             Departmental            Violations                        Disposition:       Sustained              Assigned:       Sergt
Brian   Saba


           INTERNAL         INVESTIGATION               /

           Confidential           Investigation                 as     a result       of    information    reported      on
          www.plainviewproject.org                          and www.injusticewatch.org websites,                        in    reference    to
           social     media       posts          made   by      current        and    former   members     of    the   Philadelphia       Police
           Department.




    Allegations:


            Departmental              Violation-PPD               Directives          Violation    (See    PPDD#)        PPDD    610-Social
Media   and Networking            -    Sustained            -    Jun    18,    2019


    Actions      taken:


               Jun    05,    2019           Removed         From       Street


                                           YES


               Jun    05,    2019      -    Weapon       Confiscated


                                           YES


               Jul    19,    2019      -    Resigned/Retired prior                     to    Gniotek


Involved Officer:                 PBI                                                                 IA No:
P2019-0515                                              Received:              Jul     23,     2019

    Incident         disposition/finding:
Classification:            Procedural                       Disposition:                      Assigned:    Un-
assigned


           REFER      TO    lAD   19-1077.58




                                                                                                                                                PHL 00004913


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       PBI   Handling:       Yes      PBI    Processing Completed:                    Yes


       PBI    Case   Information:
              PEI No: 2019-0515
              Job type: Formal Discipline              Sworn
              Opened date: 07/03/2019
              Completed date: 01/19/2023
              Status: Completed
              Source: INT



         Charges:

   New Article I Conduct              Unbecoming 07/23/2019                 [1    -




Arbitration/Reiristatment             Jan 19, 2023



             Statute: 1-5021-10




       Related actions         taken:

                 Jul   18,    2019   Placed    in   Personnel       File

                             Cpl. Thomas Young #8087.  Separated on                         07/19/2019.
                             Charges placed in personnel file.  P/C                         signed on
                             07/18/2019.



                 Jan   19,    2023   Arbitration Award Reinstetmenit

                             Arbitrator David J. Reilly, Esq. has ruled in a
                             split decision that the City of Philadelphia had
                             just cause to discipline Philadelphia Police
                             Corporal Thomas Young for Violating Directive 6.10
                              (Social Media Policy) but the penalty of dismissal
                             was excessive. Young's discharge was reduced to a
                              (30) day suspension.




      New Article V Neglect           of    Duty    07/23/2019      H   -        Arbitration Award    30
day    Jan 19, 2023



             Statute :5-§011-10



       Failure to comply with any Police                       Commissioner's orders,
directives, memorandums, or regulations;                       or any oral or written              orders
of superiors.

       Related actions         taken:

                 Jul   18,    2019   Placed    in   Personnel       File

                             Dpi. Thomas Young #8087.  Separated on                         07/19/2019.
                             Charges placed in personnel file.  P/C                         signed on
                             07/18/2019.



                 Jan   19,    2023   Arbitration Award          -   Reinstatment




                                                                                                                PHL 00004914


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                          Arbitrator        David    J.   Reilly,       Esq.   has    ruled   in    a
                          split     decision       that   the    City    of    Philadelphia        had
                          just     cause    to   discipline        Philadelphia        Police
                          Corporal        Thomas    Young    for Violating           Directive      6.10
                           (Social       Media   Policy)     but   the    penalty      of   dismissal
                          was     excessive.       Young's      discharge      was    reduced      to    a
                           (30)    day    suspension.




Report       summary:    totals    by    incident    type:


Incident       type                                 Received


Action       Taken                                          0
Alert       Review                                          0
Background       Investigation                              C
C/O INVESTIGATION                                           C
Case Review                                                 C
Complaint       Against    Police                           9
Discretionary          arrest                               C
Drug    test                                                12
Drug    Unit    Internals                                   C
Equal       Employment    Opportunity                       a
ERU-EEO       Referrals                                     C
FBI    Task    Force                                        C
FRB                                                         C
Hospital       case                                         C
IlU    Investigations                                       C
IMPACT       Investigations                                 C
IMPACT       Support                                        C
Integrity       Control    Unit                             C
Integrity       test                                        1
Internal       Investigations                               2
ISS    Investigations                                       C
ISS    Misc    Investigations                               C
ISS    Support                                              C
159   Utilization                                           C
Miscellaneous                                               1
Miscellaneous          discharge                            C
Non-Investigatory          Incident                         C
Off    Duty Action                                          1
Off    Duty    Domestic                                     C
PEI                                                         2
PFA    Denied                                               C
Police       discharge                                      C
Protection       From Abuse                                 C
Reinstatements                                              C
Resolutions                                                 C
Show    of    force                                         C
Stop                                                        C
Use    of    force                                          5
Use    of    Force    Internal                              C
Web    OD                                                   C
Web    UOF                                                  C
Total                                                       33




                                                                                                                 PHL 00004915


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